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   Fax: 427-2220
 5 Attorney for Defendant
   JEFFEREY REILLEY
 6
                               UNITED STATES DISTRICT COURT
 7
                              EASTERN DISTRICT OF CALIFORNIA
 8
   United States of America.,             ) Case No. No. 2:17-CR-53 JAM
 9                                        )
           Plaintiff,                     ) STIPULATION AND ORDER RE: EXTENSION
10                                        ) OF TIME TO FILE MOTION TO CORECT
       v.                                 ) PRESENTENCE REPORT AND TO CONTINUE
11                                        ) SENTENCING
                                          )
12 Jeffrey Reilley                        )
           Defendant.                     )
13                                        )
14
            The above-entitled matter is set before this Court on June 25, 2019 @ 9:15 am for sentencing. In
15
     order to permit Mr. Reilley sufficient time to prepare his Motion for Correction of the Presentence
16
     Report, the parties jointly request that the hearing for judgment and sentence be continued to July 9,
17
     2019 at 9:15 a.m., and that the Court exclude time under the Speedy Trial Act and local Rule T4
18
     between June 25, 2019 and July 9, 2019.
19
            The parties hereby STIPULATE and propose the that the Mr. Reilley’s Motion for Correction of
20
     the Presentence Report Shall be Filed with the Court and Served on the Probation Officer and Opposing
21
     Counsel no Later Than June 25, 2019 and that Sentencing be continued until July 9, 2019 at 9:15 am.
22
     Dated: June 13, 2019                                 By: /s/ TIM A. PORI______
23                                                        TIM A. PORI
24                                                        Counsel for JEFFREY REILLEY

25 Dated: June 13, 2019                                   By: /s/ KEVIN KHASIGIAN
                                                          KEVIN KHASIGIAN
26                                                        Assistant United States Attorney
27
                                                      ORDER
28

     STIPULATION AND [PROPOSED] ORDER RE: EXTENSION OF TIME TO FILE MOTION TO CORECT
     PRESENTENCE REPORT AND TO CONTINUE SENTENCING 2:17-CR-53 JAM
             Case 2:17-cr-00053-JAM Document 179 Filed 06/13/19 Page 2 of 2


 1                 IT IS HEREBY ORDERED that Mr. Reilley’s Motion for Correction of the Presentence

 2 Report Shall be Filed with the Court and Served on the Probation Officer and Opposing Counsel no

 3 Later Than June 25, 2019 and that Sentencing be continued until July 9, 2019 at 9:15 am.

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 5 DATED: June 13, 2019                                       /s/ John A. Mendez_______________
                                                              HONORABLE JOHN A. MENDEZ
 6                                                            United States District Court Judge
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     STIPULATION AND [PROPOSED] ORDER RE: EXTENSION OF TIME TO FILE MOTION TO CORECT
     PRESENTENCE REPORT AND TO CONTINUE SENTENCING 2:17-CR-53 JAM
